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10                          UNITED STATES DISTRICT COURT
11                                DISTRICT OF NEVADA
12
13    UNITED STATES OF AMERICA,         )          3:00-cr-00058-HDM-RAM
                                        )
14                   Plaintiff,         )
                                        )          ORDER
15    vs.                               )
                                        )
16    ROBERTO CARLOS RANGEL,            )
                                        )
17                   Defendant.         )
      _________________________________ )
18
            On March 19, 2014, the defendant advised the court that he
19
      would like the court to construe his motion filed on March 6, 2014
20
      (#258) as a motion to vacate, set aside, or correct sentence
21
      pursuant to 28 U.S.C. § 2255.      (See Doc. #260).         Accordingly, the
22
      government shall file a response to the defendant’s motion (#258)
23
      on or before May 27, 2014.
24
            IT IS SO ORDERED.
25
            DATED: This 26th day of March, 2014.
26
27
                                  ____________________________
28                                UNITED STATES DISTRICT JUDGE

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